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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------X

Jane Doe,

                          Plaintiff,                                 No. 1:24-cv-07975

                 v.

SEAN COMBS, DADDY’S HOUSE RECORDINGS INC.,
CE OPCO, LLC d/b/a COMBS GLOBAL f/k/a
COMBS ENTERPRISES LLC, BAD BOY
ENTERTAINMENT HOLDINGS, INC.,
BAD BOY PRODUCTIONS HOLDINGS, INC.,
BAD BOY BOOKS HOLDINGS, INC., BAD BOY
RECORDS LLC, BAD BOY ENTERTAINMENT LLC,
BAD BOY PRODUCTIONS LLC,
ORGANIZATIONAL DOES 1-10, INDIVIDUAL
DOES 1-10, and SHAWN CARTER.

                          Defendants.

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                           MEMORANDUM OF LAW IN SUPPORT OF

                   PLAINTIFF’S MOTION TO PROCEED ANONYMOUSLY
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          Plaintiff Jane Doe (“Plaintiff”), by and through her undersigned counsel The Buzbee Law

Firm, hereby files this Memorandum of Law in Support of Plaintiff’s Motion to Proceed

Anonymously pursuant to Federal Rule of Civil Procedure (“FRCP”) 10a (the “Motion”).

                                   PRELIMINARY STATEMENT

          This lawsuit involves claims arising from Defendants Sean Combs’ (“Combs”) and Shawn

Carter’s (“Carter”) sexual assault and rape of Plaintiff in 2000. In her First Amended Complaint

(Dkt. No. 29), Plaintiff alleges that she was drugged and then assaulted and raped by Combs and

Carter at a party following the Video Music Awards. Plaintiff was a minor at the time of the

occurrence, just 13 years old. Because of the egregious nature of what happened,1 Plaintiff filed

this lawsuit under the pseudonym of Jane Doe. There is no prejudice to Combs, Carter or any

other Defendant if Plaintiff is permitted to pursue her claims as Jane Doe, and if required by this

Court, counsel for Plaintiff will confidentially disclose her name to counsel for Defendants. See

Buzbee Decl. ¶ 3.

          As set forth in the Complaint, Combs has a history of violent and aggressive behavior and

has been the subject of numerous civil complaints. See First Amended Complaint ¶¶ 4 – 18.

Currently Combs is in jail awaiting criminal trial on charges of sex trafficking and racketeering,

among other things. Id. ¶ 19. Combs, and the people within his organizations, are dangerous.

                                             ARGUMENT

          It is well-settled that it is within the sound discretion of the court to allow a plaintiff to

proceed anonymously in judicial proceedings. See, e.g., EW v. N.Y. Blood Center, 213 F.R.D. 108,

110 (E.D.N.Y. 2003); Doe v. Smith, 189 F.R.D. 239, 242 (E.D.N.Y. 1998), vacated on rehearing

and modified on other grounds, 105 F. Supp. 2d 40, 45 (E.D.N.Y. 1999). A district court has



1
    These details are set forth in the Complaint at ¶¶ 38-60, and not repeated here.
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discretion to grant an exception to the “general requirement of disclosure of the names of parties”

to permit a plaintiff to proceed under a pseudonym. Sealed Plaintiff v. Sealed Defendant, 537 F.3d

185, 189 (2d Cir. 2008) (internal quotation marks and citation omitted) (alteration adopted). The

question for the district court is whether the plaintiff has a “substantial privacy” interest that

“outweighs the customary and constitutionally-embedded presumption of openness in judicial

proceedings.” Id. (internal quotation marks and citation omitted).

    I.      PLAINTIFF         SHOULD         BE     GRANTED          LEAVE      TO     PROCEED

            ANONYMOUSLY IN THIS LAWSUIT DUE TO THE SENSITIVE AND

            PERSONAL NATURE OF THE ALLEGATIONS.

         Plaintiff’s interest in anonymity outweighs any other factors that would justify disclosing

her name. When deciding whether a plaintiff may be allowed to maintain an action under a

pseudonym, the plaintiff’s interest in anonymity must be balanced against both the public interest

in disclosure and any prejudice to the defendant. See Sealed Plaintiff, 537 F.3d at 189-90. In

balancing these interests, courts consider several factors, including the following “non-exhaustive”

list:

         (1) whether the litigation involves matters that are highly sensitive and of a personal

             nature;

         (2) whether identification poses a risk of retaliatory physical or mental harm to the party

             seeking to proceed anonymously or, even more critically, to innocent nonparties;

         (3) whether identification presents other harms and the likely severity of those harms,

             including whether the injury litigated against would be incurred as a result of

             disclosing the plaintiff’s identity;
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        (4) whether the plaintiff is particularly vulnerable to the possible harms of disclosure,

             particularly given his or her age;

        (5) whether the suit is challenging the actions of the government or that of private parties;

        (6) whether the defendant is prejudiced by allowing the plaintiff to press his or her claims

             anonymously, whether that prejudice (if any) differs at any particular stage of the

             litigation, and whether any prejudice can be mitigated by the district court;

        (7) whether the plaintiff’s identity has thus far been kept confidential;

        (8) whether the public’s interest in the litigation is furthered by requiring the plaintiff to

             disclose his or her identity;

        (9) whether, because of the purely legal nature of the issues presented or otherwise, there

             is an atypically weak public interest in knowing the litigants’ identities; and

        (10) whether there are any alternative mechanisms for protecting the confidentiality of the

             plaintiff.

Id. at 189-90 (internal quotation marks, citations, and alterations omitted).

        A district court is not required to list each of the factors or use any particular formula as

long as the court balances the interests at stake in reaching its conclusion. See id. at 191 n.4. When

balancing these interests, these factors favor granting Plaintiff’s request to proceed anonymously

in this action.

    A. This Litigation Involves Matters that are Highly Sensitive and of a Personal Nature

        As to the first factor, Plaintiff’s claims concern sexual assault and rape and, accordingly,

are highly sensitive and of a personal nature. In similar circumstances, courts have recognized the

need to protect the identity of sexual assault victims. See Doe v. Smith, 105 F. Supp. 2d 40

(E.D.N.Y. 1999) (allowing victim of sexual abuse to proceed anonymously); see also Doe v. Blue
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Cross & Blue Shield United of Wis., 112 F.3d 869 (7th Cir. 1997) (recognizing rape victims as

entitled to anonymity). An action need not involve rape or sexual assault specifically in order to

permit a plaintiff to proceed as a Jane Doe. See Trooper 1 v. N.Y. State Police, No. 22 Civ. 00893

(LDH) (TAM), ECF No. 37. In Trooper 1, the court held:

       Even though Plaintiff has not offered corroboration for her claimed risks of
       harm at this stage, in light of the allegations contained in the complaint and
       the high-profile nature of the case, having the plaintiff’s name in the public
       domain, especially in the Internet age, could subject the plaintiff to future
       unnecessary interrogation, criticism, or psychological trauma, as a result of
       bringing this case. As a result, the Court finds that a “chilling effect” could
       result from Plaintiff’s being required to reveal her identity, which weighs in
       favor of permitting Plaintiff to continue anonymously.

Id. (citations and quotations omitted). Here, Combs is a public figure and the media attention

given to this case has been substantial. This is especially so given that this and other civil lawsuits

have followed Combs’ criminal indictment as well..

       Given this confluence of events, the media attention of this action would undoubtedly

create a chilling effect on future plaintiffs in similar circumstances should Plaintiff be forced to

disclose her identity. See, e.g., Doe v. Colgate Univ., No. 15 Civ. 1069 (LEK) (DEP), 2016 WL

1448829, at *3 (N.D.N.Y. Apr. 12, 2016) (“The Court is also mindful of the potential chilling

effect that forcing Plaintiff to reveal his identity would have on future plaintiffs facing similar

situations.”); Doe v. Cabrera, 307 F.R.D. 1, 7 (D.D.C. 2014). See also Doe 1 v. McAdam Fin.

Grp. LLC, No. 22 Civ. 00113 (GHW) (SN), 2022 WL 3579700 (S.D.N.Y. Aug. 3, 2022).

   B. Plaintiff’s Identification Poses a Risk of Retaliatory Physical and/or Mental Harm

       The second factor is similarly satisfied in favor of granting anonymity, as Plaintiff’s

identification poses a risk of both physical and mental harm. Nearly all of the victims represented

by Plaintiff’s counsel’s firm experienced similar threats of violence against either themselves or

their loved ones. See Buzbee Decl. ¶ 5 & 6. “If disclosure creates risk of harm from third parties,
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disclosure is disfavored.” Doe v. Townes, No. 19-CV-8034 (ALC) (OTW), 2020 WL 2395159, at

*4 (S.D.N.Y. May 12, 2020). There is a significant risk here of physical harm to Plaintiff that

cannot be ignored.

        In terms of mental harm, Plaintiff’s experiences, which as described in the Complaint are

deeply traumatic, and having those experiences played out in a public forum could spark more

trauma for Plaintiff. See Doe 140 v. Archdiocese of Portland in Or., 249 F.R.D. 358, 361 (D. Or.

2008) (explaining that “the experience of sexual abuse can be deeply psychologically traumatic,

and public knowledge of such abuse can trigger new trauma even years after the fact”). Under

circumstances in which disclosure of a party’s identity could cause further injury, anonymity is

routinely permitted. See Doe v. Smith, 105 F. Supp. 2d at 44 (holding that sexual abuse victim

may proceed anonymously where victim’s doctor opined that revelation of her identity would

cause emotional injury); Doe v. Diocese Corp., 647 A.2d 1067, 1072 (Conn. 1994) (therapist

opined that disclosure of clergy abuse victim’s identity would cause a setback in his treatment);

Roe v. Borup, 500 F. Supp. 127 (E.D. Wis. 1980). In this case, the filing of this lawsuit has garnered

significant attention in the press, and if Plaintiff’s identity is revealed to the public, there is little

doubt that she would be inundated with unwanted attention from the media that would cause her

extreme psychological distress. Plaintiff would certainly experience further significant harm if

she is forced to reveal her identity to the public.

    C. Defendant Combs and the Other Defendants Will Not be Prejudiced by Allowing the

        Plaintiff to Pursue Her Claims Anonymously

        Protecting Plaintiff by allowing her use of a pseudonym will not prejudice Defendants.

The Complaint sets forth the factual basis for Plaintiff’s claims in detail. Combs cannot claim to

be prejudiced in discovery here simply because Plaintiff may proceed anonymously – other than a
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few words exchanged prior to the assault, Plaintiff was anonymous to Combs before, during and

after the sexual assault described in the Complaint. And Combs, through his violent behavior and

then threats of violence after the event, himself created the very conditions that now drive

Plaintiff’s need to proceed anonymously in this action.

       Defendants will have access to Plaintiff’s discoverable information, and will still have the

right to depose or confer with any and all witnesses, conduct full discovery in accordance with the

Rules of Civil Procedure, and obtain any and all documents. There is neither potential prejudice

to the Defendant nor a possibility of confusion of identities. Thus, allowing Plaintiff to proceed

anonymously will not result in prejudice to the Defendants or in any way interfere with the policy

underlying Rule 10a of the Federal Rules of Civil Procedure of apprising the parties of the identity

of their opponent. As such, Defendants will suffer no prejudice if Plaintiff is to pursue her claims

under the Jane Doe pseudonym.

       In any event, we are at the earliest stages of this case. Defendants’ next step is to answer

or file a motion to dismiss, neither of which requires disclosure of Plaintiff’s identity. Any

arguments regarding Defendants’ need for additional information about Plaintiff later in the case

are premature, and can be dealt with in the ordinary course of litigation as the case proceeds. See

Grottano v. City of New York, No. 15 Civ. 9242, 2016 WL 2604803, at *3 (S.D.N.Y. Mar. 30,

2016) (granting motion to proceed anonymously and rejecting arguments about impact of

anonymity in later stages of litigation). This Court has routinely granted initial leave to file a

complaint pseudonymously while reserving the right to order disclosure of a plaintiff’s identity at

a later stage, suggesting that the standard for making the requisite showing is lower at the pleading

stage. See, e.g., Doe v. Delta Airlines, Inc., 310 F.R.D. 222, 223 (S.D.N.Y. 2015) (denying motion
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to proceed pseudonymously at trial after allowing plaintiff to proceed under pseudonym earlier in

case).

   D. The Public Will Not be Prejudiced if Plaintiff Proceeds Anonymously

         “[P]arty anonymity does not obstruct the public’s view of the issues joined or the court’s

performance in resolving them.” Doe v. Stegall, 653 F.2d 180, 185 (5th Cir. 1981) (holding that

Plaintiff suing government was entitled to proceed anonymously). “The assurance of fairness

preserved by public presence at a trial is not lost when one party’s cause is pursued under a

fictitious name.” Id. Rather, it would seem that the public has a far greater interest in knowing

who is accused of sexual abuse and where the abuse is alleged to have occurred than any interest

in knowing the specific identity of a victim. In EW, 213 F.R.D. 108, the court held that the privacy

rights of a patient who brought suit against a blood bank after receiving a tainted blood transfusion

outweighed any First Amendment interest in access to her name. The court noted, “[t]he modern

invention of today includes access to court files by those surfing the Internet. The facts of this

case provide no occasion for imposing such an invasion of privacy as the price for litigating a

legitimate private complaint.” Id. at 112-13. In this case, the sensitive and personal nature of

Plaintiff’s allegations of sexual assault and rape and the likelihood of further psychological injury

overcomes any presumption of openness.

   E. Allowing Plaintiff to Proceed Anonymously Furthers Public Interest

         The Court’s favor granting anonymity in these circumstances, as allowing Plaintiff to

proceed anonymously, furthers the public interest. In Doe v. Evans, 202 F.R.D. 173 (E.D. Pa.

2001), the plaintiff requested that she be able to proceed anonymously. As here, the plaintiff in

Evans was a victim of sexual assault. In considering the public interest, the court determined that

“the public generally has a strong interest in protecting the identities of sexual assault victims so
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that other victims will not be deterred from reporting such crimes.” Id. at 176. Plaintiff requests

the same consideration here to protect her identity and she would suffer significant psychological

harm if she is forced to reveal her identity to the public.

                                          CONCLUSION

       For the reasons stated herein, Plaintiff respectfully requests that this Court grant Plaintiff’s

Motion for Leave to Proceed Anonymously in its entirety, and all other relief this Court deems just

and appropriate.

Dated: DECEMBER 8, 2024

                                                Respectfully submitted,

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